Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.418   Page 1 of 58




                          EXHIBIT A
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.419   Page 2 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.420   Page 3 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.421   Page 4 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.422   Page 5 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.423   Page 6 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.424   Page 7 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.425   Page 8 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.426   Page 9 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.427   Page 10 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.428   Page 11 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.429   Page 12 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.430   Page 13 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.431   Page 14 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.432   Page 15 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.433   Page 16 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.434   Page 17 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.435   Page 18 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.436   Page 19 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.437   Page 20 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.438   Page 21 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.439   Page 22 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.440   Page 23 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.441   Page 24 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.442   Page 25 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.443   Page 26 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.444   Page 27 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.445   Page 28 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.446   Page 29 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.447   Page 30 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.448   Page 31 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.449   Page 32 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.450   Page 33 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.451   Page 34 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.452   Page 35 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.453   Page 36 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.454   Page 37 of 58
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18                                  PageID.455              Page 38 of 58




     to be the drafter of this Settlement Agreement or any of its provisions for the purpose of any

     statute, case law, or rule of interpretation   or construction that would or might cause any

     provision to be construed against the drafter of this Settlement Agreement.




                                                                                                      04/24/2016
                                                                                                       date




                                                           :~~
                                                           KELLOGG, [JANSEN. TODD, FIGEL &



                                                                KEVIN B. HUFF                 -----

                                                           Attorneys for Defendant
                                                           ART VAN FURNITURE, LLC


                                                           JASZCZUK P.C.




                                                           Attorneys for De ~'ldanl
                                                           ART VAN fURNITURE.          LLC




                                                           Attorneys for Plaintiff
                                                           MICHAEL BOWMAN


                                                                                                           37

                                                                       Doc ID' 34aa2;>1959ab4805a3b08005955a71268cfle68a
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.456   Page 39 of 58




                           EXHIBIT 1
         Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18 PageID.457                                                         Page 40 of 58
                         Art Van Furniture, LLC. TCPA Settlement CLAIM FORM

                                  Michael Bowman v. Art Van Furniture Case No. 17-cv-11630-NGE

              Return this Claim Form to: Epiq Systems, [address]. Questions, visit www.[SettlementWebsite].com or call (_________________
   DEADLINE: THIS CLAIM FORM MUST BE SUBMITTED ONLINE OR POSTMARKED BY [CLAIMS DEADLINE], BE
 FULLY COMPLETED, BE SIGNED UNDER OATH, AND MEET ALL CONDITIONS OF THE SETTLEMENT AGREEMENT.
Instructions: If you received one or more phone calls on your phone from or on behalf of Art Van Furniture, Inc. (“Art Van” or “Defendant”) through the
use of pre-recorded voice technology between May 23, 2013 and the date of entry of the Preliminary Approval Order, you may be entitled to a monetary
payment if the settlement is finally approved by the Court. If the settlement is approved, each class member, whether or not he or she submits a claim, will
release the Defendant and related entities, and all their officers, agents, employees, and those working with them and additional entities and individuals (see
Settlement Agreement for full list), from any and all claims as a result of the making of the phone calls that are the subject of this litigation. Only the primary
user or owner of the account upon which the phone calls at issue were received can submit this Claim Form. Only one claim per account holder is allowed,
regardless of how many phone calls were received or how many phone numbers are included on the account.

       Claimants who are part of this class will receive one (1) Award Unit from the Net Settlement Fund, which equals $5,875,000 less all Settlement
                    Administration Expenses, and all approved Incentive Awards and Fee Award. Award Units will be of equal value.

                              YOU MUST SUBMIT THIS CLAIM FORM TO RECEIVE A SETTLEMENT PAYMENT.

Please note that if you are a Class Member, the Class Member Verification section below requires you to state, under penalty of perjury, that all information
contained herein is true and correct.

                                                  Call Class Counsel at 720.213.0676 for Further Information

                                                      YOUR CONTACT INFORMATION

  Name: _______________________________                     ________        _________________________________
                            (First)                          (Middle)                            (Last)

  Current Address: ________________________________________________________________________
  (You must provide a street address. A P.O. box will not be accepted.)
  _______________________________________                        ____ ____        ____ ____ ____ ____ ____
  (City)                                                           (State)               (Zip Code)

  Telephone Number at the Time you Received a/the Phone Call(s): ( ___ ___ ___) ___ ___ ___ – ___ ___ ___ ___

  Current Phone Number: ( ___ ___ ___) ___ ___ ___ – ___ ___ ___ ___ or  check if same as above
  (Please provide a phone number where you can be reached if further information is required.)

                                                         Class Member Verification
  By submitting this claim form, I declare under penalty of perjury that I am a member of the Class (defined as “all individuals and entities
  who were called by or on behalf of Art Van Furniture through the use of pre-recorded voice technology between May 23, 2013 and the
  date of entry of the Preliminary Approval Order”) and that the information provided herein is true and correct.
                           ************************************************************************
                                Additional information regarding the settlement can be found at [website.com].

  The Claims Administrator may audit any and all claims. I declare under penalty of perjury that the foregoing is true and correct.

  Signature: _________________________________                                   Date: _____________________________________

                                                                                 Your claim will be reviewed by the Settlement Administrator. If
  Print Name: ________________________________                                   accepted, you will be mailed a check for your share of the Settlement
                                                                                 based on the Unit for which you are eligible. Please be patient.

CLAIM FORMS MUST BE POSTMARKED NO LATER THAN [Claims Deadline] TO BE ELIGIBLE FOR PAYMENT. MAIL THIS CLAIM
FORM TO: Claims Administrator, [Address]. If you have questions, you may call the Settlement Administrator at [toll-free #] or Class Counsel at
1 720-213-0676.
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.458   Page 41 of 58




                           EXHIBIT 2
 Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.459   Page 42 of 58




  IF YOU RECEIVED A PRE-
 RECORDED CALL FROM ART
VAN YOU MAY BE DUE MONEY
   FROM A CLASS ACTION
LEARN MORE AT: WWW.[WEBSITEURL].COM




IF YOU RECEIVED A PRE-RECORDED CALL FROM ART VAN YOU
  MAY BE DUE MONEY FROM A CLASS ACTION SETTLEMENT

                    LEARN MORE AT: WWW.[WEBSITEURL].COM
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.460   Page 43 of 58




                           EXHIBIT 3
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18                 PageID.461      Page 44 of 58




UNITED STATES DISTRICT COURT FOR EASTERN DISTRICT OF MICHIGAN
 If You Received a Phone Call on Your Telephone from Art Van Furniture, LLC
     (“Art Van”), You Could Get a Payment from a Class Action Settlement.

         A Federal Court authorized this notice. This is not a solicitation from a lawyer.

            A Settlement has been reached in an alleged class action lawsuit about whether
             Art Van made phone calls to telephone users who did not consent to receiving
             such phone calls. Art Van is referred to as the “Defendant.”

            Persons included in the Settlement who file valid Claim Forms will be eligible to
             receive a payment from the Settlement Fund, which is $5,875,000. The actual
             amount of the payments will be based on the number of valid claim forms
             submitted, administrative costs, and any incentive award or attorneys’ fees and
             expenses approved by the Court.

            Please read this notice carefully. Your legal rights are affected whether you act, or
             don’t act.


               YOUR LEGAL RIGHTS AND OPTIONS IN THIS SETTLEMENT

 SUBMIT A CLAIM FORM                  This is the only way to receive a payment.

 EXCLUDE YOURSELF                     You will receive no benefits, but you will retain any rights you
                                      currently have to sue the Defendant about the claims in this
                                      case.

 OBJECT                               Write to the Court explaining why you don’t like the Settlement.

 GO TO THE HEARING                    Ask to speak in Court about your opinion of the Settlement.

 DO NOTHING                           You won’t get a share of the Settlement benefits and will give
                                      up your rights to sue the Defendant about the claims in this case.


    These rights and options – and the deadlines to exercise them – are explained in this Notice

                                   BASIC INFORMATION

1. Why was this Notice issued?




   CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18                   PageID.462      Page 45 of 58



A Court authorized this notice because you have a right to know about the proposed Settlement of this
class action lawsuit and about all of your options before the Court decides whether to give final approval
to the Settlement. This Notice explains the lawsuit, the Settlement, and your legal rights.

Judge Nancy G. Edmunds of the U.S. District Court for the Eastern District of Michigan is overseeing
this case. The case is known as Michael Bowman v. Art Van Furniture Case No. 17-cv-11630-NGE. Mr.
Bowman, the person who sued, is called the Plaintiff/Class Representative. The Defendant is Art Van.

 2. What is a Class Action?

In a class action, one or more named plaintiffs called Class Representatives (in this case, Michael
Bowman) sue on behalf of a group or a “class” of people who have similar claims. In a class action, the
court resolves the issues for all Class Members, except for those who exclude themselves from the
Class.

 3. What is this Lawsuit about?

This lawsuit alleges that Art Van made phone calls to telephones in violation of the Telephone Consumer
Protection Act, 47 U.S.C. § 227, et. seq. The Class Representative claims that Art Van made phone calls to
telephone users who never provided prior express consent. Art Van denies that it violated any law and has
asserted several defenses.

The Court has not determined who is right. Rather, the Parties have agreed to settle the lawsuit to avoid
the uncertainties and expenses associated with ongoing litigation.

 4. Why is there a Settlement?

The Court has not decided whether the Plaintiff or the Defendant should win this case. Instead, both
sides agreed to a Settlement. That way, they avoid the uncertainties and expenses associated with
ongoing litigation, and Class Members will get compensation now rather than, if at all, years from now.

                            WHO’S INCLUDED IN THE SETTLEMENT?

 5. How do I know if I am in the Settlement Class?

You are a member of the Settlement Class if you were called by or on behalf of Art Van Furniture
through the use of pre-recorded voice technology between May 23, 2013 and the date of entry of the
Preliminary Approval Order.

For the full definition of the Settlement Class, please see the Settlement Agreement, which is available
by contacting the Settlement Administrator or Class Counsel or by clicking the “Settlement Agreement”
link under the “Important Documents Tab” on the Settlement Website, located at [website]

                                   THE SETTLEMENT BENEFITS

 6. What does the Settlement provide?



     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18                   PageID.463     Page 46 of 58




Art Van has agreed to fund a Settlement Fund of $5,875,000. The cost to send notice to the class and
administer the Settlement, as well as attorneys’ fees and payments to the Class Representative, will
come out of this amount (see Question 13). The amount remaining after deducting these costs (the “Net
Settlement Fund”) will be used to pay the claims of eligible Class Members who submit valid claims.

Class members who file valid claims and who are part of this class according to Art Van’s records will
be eligible to receive One (1) Award Unit from the Net Settlement Fund.

 7. How much will my payment be?

If you are a member of the Class and the Court gives final approval to the Settlement, you may be
entitled to receive a check for an amount equal to the value of One (1) Award Unit. The amount of your
exact payment cannot be calculated at this time. Your payment will depend on the total number of valid
claims that are filed, the cost of the Notice, and any incentive award to the Class Representative and
award of attorneys' fees and expenses to Class Counsel.

You may only make one claim per telephone number, regardless of how many calls were received.

 8. When will I get my payment?

You should receive a check from the settlement administrator within 60-90 days after the Settlement has
been finally approved and/or after any appeals have been resolved in favor of the Settlement. The
hearing to consider the final fairness of the Settlement is scheduled for [Fairness Hearing Date.] All
checks will expire and become void 90 days after they are issued.

                                      HOW TO GET BENEFITS

 9. How do I get benefits?

If you are a Class Member and you want to participate in the Settlement, you must complete and submit
a Claim Form, under penalty of perjury, by [CLAIMS DEADLINE]. The Claim form is included with
this notice and can be found by calling, toll free, 1-800-000-0000 or by contacting Class Counsel at
(720) 213-0676. The Claim Form can be submitted online at the Settlement Website or downloaded and
submitted by mail. There is only one claim per telephone number.

                                REMAINING IN THE SETTLEMENT
 10. What am I giving up if I stay in the Class?

If the Settlement becomes final, you will give up your right to sue Art Van for the claims being resolved
by this Settlement. The specific claims you are giving up against Art Van are described in Section V of
the Settlement Agreement. You will be “releasing” the Defendant and other entities and individuals as
described in Section V of the Settlement Agreement. Unless you exclude yourself (see Questions 14 &
15), you are “releasing” the claims, regardless of whether you submit a claim form or not. The
Settlement Agreement is available at www.[settlementwebsite].com.




     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18                   PageID.464      Page 47 of 58




The Settlement Agreement describes the released claims with specific descriptions, so read it carefully.
If you have any questions you can talk to Class Counsel listed in Questions 12 and 17 for free or you
can, of course, talk to your own lawyer if you have questions about what this means.

 11. What happens if I do nothing at all?

If you do nothing, you won’t get any benefits from this Settlement. But, unless you exclude yourself,
you won’t be able to start a lawsuit or be part of any other lawsuit against the Defendant for the claims
being resolved by this Settlement.

                               THE LAWYERS REPRESENTING YOU

 12. Do I have a lawyer in the case?

The Court has appointed Steven Woodrow, Patrick H. Peluso, and Taylor Smith of Woodrow & Peluso,
LLC, and Stefan Coleman of the Law Offices of Stefan Coleman, PLLC to be the attorneys representing
the Settlement Class. Steven Woodrow is called “Class Counsel.” Class Counsel believes, after
conducting an extensive investigation, that the Settlement Agreement is fair, reasonable, and in the best
interests of the Settlement Class. You will not be charged for these lawyers. If you want to be
represented by your own lawyer in this case, you may hire one at your expense. You may also enter an
appearance though an attorney if you so desire.

 13. How will the lawyers be paid?

The Settlement Agreement allows Class Counsel to submit a petition for reasonable attorneys' fees of up
to one-third of the Settlement Fund as fees and expenses for investigating the facts, litigating the case,
and negotiating the Settlement in this matter. Class Counsel may seek, and the Court may award, less
than this amount. Under the Settlement Agreement, any amount awarded to Class Counsel will be paid
out of the Settlement Fund.

Subject to approval by the Court, Defendant has agreed to pay $5,000 to the Class Representative from
the Settlement Fund as an incentive award for his service in helping to litigate and settle this case.

                       EXCLUDING YOURSELF FROM THE SETTLEMENT

 14. How do I get out of the Settlement?

To exclude yourself from the Settlement, you must send a letter (or request for exclusion) by mail
stating that you want to be excluded from Michael Bowman v. Art Van Furniture Case No. 17-cv-11630-
NGE. Your letter or request for exclusion must also include your name, your address, the phone number
that received the relevant telephone calls, and your signature. You must mail your exclusion request so
that it is postmarked no later than [Objection/Opt Out Deadline] to:

Epiq Systems
Michael Bowman v. Art Van Furniture



     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18                   PageID.465      Page 48 of 58



Case No. 17-cv-11630-NGE
[Address Line 1]
[Address Line 2]
[TOLL FREE NUMBER]

The Court will exclude from the Class any Class Member who timely requests exclusion.

 15. If I don’t exclude myself, can I sue the Defendant for the same thing later?

No. Unless you exclude yourself, you give up any right to sue Art Van for the claims being resolved by
this Settlement.

 16. If I exclude myself, can I get anything from this Settlement?

No. If you exclude yourself, do not submit a Claim Form to ask for benefits.

                                OBJECTING TO THE SETTLEMENT

 17. How do I object to the Settlement?

If you’re a Class Member, you can object to the Settlement if you don’t like any part of it. You can give
reasons why you think the Court should not approve it. The Court will consider your views. To object,
you must send a letter stating that you object to the Settlement in Michael Bowman v. Art Van Furniture
Case No. 17-cv-11630-NGE, and identify all your reasons for your objections (including citations and
supporting evidence) and attach any materials you rely on for your objections. Your letter or brief must
also include your name, your address, your telephone number that received the telephone call(s) from or
on behalf of Art Van Furniture, and your signature.

Class Counsel will file with the Court, and post on the Settlement Website under the “Important
Documents” tab, its request for attorneys’ fees two weeks prior to the objection deadline.

If you want to appear and speak at the Final Approval Hearing to object to the Settlement, with or
without a lawyer (explained below in answer to Question Number 21), you must say so in your letter or
brief. Mail the objection to these three places postmarked no later than Month 00, 2018:

         Court                          Class Counsel                    Defense Counsel

     The Honorable Nancy            Steven Woodrow, Esq.            Martin W. Jaszczuk, Esq.
     G. Edmunds                     Class Counsel                   Jaszczuk P.C.
     c/o Clerk of the Court         Woodrow & Peluso, LLC           311 S. Wacker Drive,
                                                                    Suite 3200
     Theodore Levin U.S.            3900 East Mexico Ave.           Chicago, Illinois 60606
     Courthouse                     Ste. 300                        (312-442-0509)
     231 W. Lafayette Blvd.,        Denver, CO 80210
     Room 858 Detroit, MI           (720) 213-0675
     48226




     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18                    PageID.466      Page 49 of 58




 18. What’s the difference between objecting and excluding myself from the Settlement?

Objecting simply means telling the Court that you don’t like something about the Settlement. You can
object only if you stay in the Class. Excluding yourself from the Class is telling the Court that you don’t
want to be part of the Class. If you exclude yourself, you have no basis to object because the case no
longer affects you.

                           THE COURT’S FINAL APPROVAL HEARING

 19. When and where will the Court decide whether to approve the Settlement?

The Court will hold the Fairness Hearing at [time] on Month 00, 2018 at the [insert where]. The purpose
of the hearing will be for the Court to determine whether to approve the Settlement as fair, reasonable,
adequate, and in the best interests of the Class; to consider the Class Counsel's request for an award of
attorneys’ fees and expenses; and to consider the request for an incentive award to the Class
Representative. At that hearing, the Court will be available to hear any objections and arguments
concerning the fairness of the Settlement.

The hearing may be postponed to a different date or time without notice, so it is a good idea to check
with Class Counsel by calling [insert phone #]. If, however, you timely object to the Settlement and
advise the Court that you intend to appear and speak at the Fairness Hearing, you will receive notice of
any change in the date of such Fairness Hearing.

 20. Do I have to come to the hearing?

No. Class Counsel will answer any questions the Court may have. But you are welcome to come at your
own expense. If you send an objection or comment, you don’t have to come to Court to talk about it. As
long as you mailed your written objection on time, the Court will consider it. You may also pay another
lawyer to attend, but it’s not required.

 21. May I speak at the hearing?

Yes. You may ask the Court for permission to speak at the Fairness Hearing. To do so, you must send a
letter saying that it is your “Notice of Intent to Appear in Michael Bowman v. Art Van Furniture Case
No. 17-cv-11630-NGE.” It must include your name, address, telephone number and signature as well as
the name and address of your lawyer, if one is appearing for you. Your Notice of Intent to Appear must
be postmarked no later than Month 00, 2018, and be sent to the addresses listed in Question 17. You
must also state in your objection that you plan on appearing at the hearing.

                                  GETTING MORE INFORMATION

 22. Where do I get more information?




     CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18               PageID.467     Page 50 of 58



This Notice summarizes the Settlement. More details are in the full Settlement Agreement. You
can get a copy of the Settlement Agreement by writing the Settlement Administrator at P.O. Box
0000, City, ST 00000 or by visiting www.[settlementwebsite].com. You can call the Settlement
Administrator at 1-800-000-0000 or Class Counsel at 1-720-213-0676, if you have any questions.
Before doing so, however, please read this full Notice carefully.




    CALL 1-800-000-0000 FOR THE SETTLEMENT ADMINISTRATOR OR 720-213-0676 FOR CLASS COUNSEL
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.468   Page 51 of 58




                GROUP EXHIBIT 4
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.469   Page 52 of 58




                        EXHIBIT 4-A
   Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18         PageID.470           Page 53 of 58




                                                                                                  First
                                             Michael Bowman v. Art Van Furniture
                                                                                                  Class
                              Legal Notice   Case No. 17-cv-11630-NGE
                                             Epiq Systems
                                                                                                 Postage
                                             [Address Line 1]                                    Permit
                                             [Address Line 2]
  ATTENTION! If You Received                 [Address Line 3]


 A Phone Call to Your Telephone
   from Art Van Furniture, Inc.
       from May 23, 2013 to
                                                    |||||||||||||||||||||||||||||||||
[Date of Preliminary Approval Order]                Postal Service: Please do not mark barcode

                                                    ABC-1234567-8
      You May Be Part of a
                                                    First Last
     Class Action Settlement                        Address1
                                                    Address2
                                                    City, State, Zip Code
        Learn More At:

    www.[websiteURL].com
          Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18                                        PageID.471          Page 54 of 58




Summary Notice
You are receiving this notice because you have been identified as a potential settlement
class member in Michael Bowman v. Art Van Furniture Case No. 17-cv-11630-NGE,
pending in the U.S. District Court for the Eastern District of Michigan. The Court has
preliminarily approved a settlement that could impact your legal rights, whether you act or        TO SUBMIT A CLAIM FORM, VISIT:
not. This is only a summary of the Full Notice. Visit www.[website].com to read the Full                    www.[websiteurl].com
Notice, submit a Claim Form, and view important court dates and documents.

Nature of the Action. This lawsuit alleges that Art Van made phone calls to telephones in
violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et. seq. The Class       To request exclusion, submit your signed statement that
Representative claims that Art Van made phone calls to telephone users without prior          says “I wish to be excluded from Michael Bowman v.
express consent. Art Van denies that it violated any laws and asserts numerous defenses.      Art Van Furniture Case No. 17-cv-11630-NGE to:
The Court has not determined who is right. Rather, you are receiving this legal notice
because your rights may be impacted by the settlement.
                                                                                                Epiq Systems
How Do I Know if I am a Class Member? You fall into the definition of the Settlement            Michael Bowman v. Art Van Furniture
Class if you were called by or on behalf of Art Van Furniture through the use of pre-           Case No. 17-cv-11630-NGE
recorded voice technology between May 23, 2013 and the date of entry of the
Preliminary Approval Order.                                                                     [Address Line 1]
                                                                                                [Address Line 2]
What are My Options? You may submit a Claim Form to be paid your share of the Net               [TOLL FREE NUMBER]
Settlement Fund (equal to the Settlement Fund of $5,875,000 less all approved Settlement
Administration Expenses, and any Incentive Awards and the Fee Award to Class Counsel).         For all other inquiries, contact Class Counsel at:
You can discuss the case with Class Counsel. You may also enter an appearance though an
attorney if you so desire. You may also request to be excluded, and the Court will exclude      Michael Bowman v. Art Van Furniture
any member who timely requests exclusion. To request exclusion, you must mail a signed          Case No. 17-cv-11630-NGE
statement that says “I wish to be excluded from Michael Bowman v. Art Van Furniture
Case No. 17-cv-11630-NGE” to the Settlement Administrator, postmarked by [opt-                  Class Counsel
out/objection deadline]. Specific information is available at www.website.com. If you do        Woodrow & Peluso, LLC
nothing you will be in the Class and you will also be bound by all orders and judgments of      3900 East Mexico Ave., Ste. 300
the Court entered under Rule 23(c)(3). If you request exclusion, you will not be able to
participate in the settlement.                                                                  Denver, CO 80210
                                                                                                (720) 213-0676
Who Represents Me? The Court has appointed Steven L. Woodrow, Patrick Peluso, and               swoodrow@woodrowpeluso.com
Taylor Smith of Woodrow & Peluso, LLC and Stefan Coleman from the Law Office of
Stefan Coleman, P.A. to be the attorneys for the Class. These attorneys are referred to as
Class Counsel. You may hire your own lawyer at your own expense.

How Do I Get More Information? For more information about the proposed
settlement and a copy of the full Notice and Claim Form, go to www.[website].com,
contact the Administrator at [toll free #] or [Address] or call Class Counsel at 720-213-                   www.[websiteurl].com
0676.
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18   PageID.472   Page 55 of 58




                        EXHIBIT 4-B
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18                  PageID.473      Page 56 of 58




  Subject: Notice of Class Action Settlement - Michael Bowman v. Art Van Furniture, LLC.

  Body:

  Class Member ID: ABC-1234567-8

                         NOTICE OF CLASS ACTION SETTLEMENT

     Michael Bowman v. Art Van Furniture, Inc. Case No. 17-cv-11630-NGE (E.D. Michigan)

   IF YOU RECEIVED A PHONE CALL FROM ART VAN FURNITURE, YOU COULD
          RECEIVE A PAYMENT FROM A CLASS ACTION SETTLEMENT.

            For complete information, visit www.[websiteurl].com or call 1-xxx-xxx-xxxx.
                    Para ver este aviso en español, visite www.websiteurl.com

   A Federal Court authorized this notice. You are not being sued. This is not a solicitation from a
                                              lawyer.

  A Settlement has been reached in a class action lawsuit against Art Van Furniture, LLC (“Art
  Van”), Michael Bowman v. Art Van Furniture, Inc., Case No. 17-cv-11630-NGE, pending in the
  U.S. District Court for the Eastern District of Michigan. The Court has preliminarily approved
  the settlement, which could impact your legal rights, whether you act or not. This is only a
  summary of the Full Notice. Visit www.[websiteurl].com to read the Full Notice, submit a Claim
  Form, and view important court dates and documents.

           Nature of the Action. The lawsuit alleges that Art Van made phone calls to telephones in
  violation of the Telephone Consumer Protection Act, 47 U.S.C. § 227, et. seq. The Settlement
  Class Representatives claim that Art Van made phone calls to telephone users who never
  provided prior express consent. Art Van denies the allegations and that it violated any laws, and
  it asserts several defenses. The Court has not determined who is right. Rather, the Parties have
  agreed to settle the lawsuit to avoid the uncertainties and expenses associated with ongoing
  litigation.

         Why am I Receiving This Email? Our records show you may be a member of the
  “Settlement Class,” which includes all individuals and entities who were called by or on behalf
  of Art Van Furniture through the use of pre-recorded voice technology between May 23, 2013
  and [date of entry of the Preliminary Approval Order].

         What Can I Get Out of the Settlement? If you’re eligible and the Court approves the
  Settlement, you could receive a cash payment. Art Van has agreed to fund a Settlement Fund of
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18               PageID.474     Page 57 of 58




  $5,875,000 U.S. dollars. The cost to send notice to the class and administer the Settlement
  (estimated to be approximately $______________ USD), as well as any award of reasonable
  attorneys’ fees and expenses (no more than one-third of the Settlement Fund) and any Incentive
  Award of no more than $5,000 to the Class Representative will come out of this amount. The
  amount remaining after deducting these amounts (the “Net Settlement Fund”) will be used to pay
  the claims of eligible Class Members who submit valid claims. Class members who file valid
  claims will be eligible to receive One (1) Unit from the Net Settlement Fund. If any money
  remains after these disbursements, it will be donated to a cy pres recipient approved by the
  Court.

          What are My Options? If you are a member of the Class as described above, your legal
  rights are affected and you have several options: (1) Submit a Claim: You may submit a Claim
  Form at www.website.com or download the form and submit it by mail, either way by no later
  than [claims deadline]. Include the Class Member ID on the front of this postcard with your
  claim. The information you provide to the Settlement Administrator will be used only to
  administer the Settlement. (2) Do Nothing: You will not receive a payment but you will be
  bound by the Court’s Orders and Judgment and give up your right to sue Art Van and certain
  other persons and entitles about the legal claims resolved by the Settlement. (3) Exclude
  Yourself: Keep the right to sue Art Van about the legal claims resolved by the Settlement, but
  you will not receive payment from this Settlement. To request exclusion, you must mail a
  signed statement that says “I wish to be excluded from the Settlement in Michael Bowman v. Art
  Van Furniture, Inc., Case No. 17-cv-11630-NGE” to the Settlement Administrator, postmarked
  by [opt-out deadline]. Specific information is available at www.website.com. (4)
  Object/Request to Appear: Write to the Court and say why you don’t like the Settlement and/or
  request permission to speak at the Final Approval Hearing by [objection deadline]. The Court
  will hold a Final Approval Hearing at [       ] on [   ], before the Honorable Nancy G.
  Edmunds in Courtroom 858, Theodore Levin U.S. Courthouse at 231 W. Lafayette Blvd, Detroit,
  Michigan 48226. The Court will consider whether the proposed settlement is fair, reasonable,
  and adequate and whether to approve the attorneys’ fees and costs to Class Counsel and an
  Incentive Award to the Class Representative, and consider objections, if any. The motion for
  attorneys’ fees and costs will be posted on the website after it is filed.

         Who Represents Me? The Court has appointed Steven Woodrow, Patrick H. Peluso, and
  Taylor Smith of Woodrow & Peluso, LLC and Stefan Coleman of the Law Offices of Stefan
  Coleman, PLLC. to be the attorneys representing the Settlement Class. The attorney is called
  “Class Counsel.” You may hire your lawyer at your own expense.

         When Will the Court Approve the Settlement? The Court will hold a final approval
  hearing on Month 00, 2018 at 00:00 a.m. at the Theodore Levin U.S. Courthouse at 231 W.
Case 2:17-cv-11630-NGE-RSW ECF No. 35-1 filed 04/26/18                  PageID.475       Page 58 of 58




  Lafayette Blvd., Room 858 Detroit, Michigan 48226. The Court will hear objections, determine
  if the Settlement is fair, and consider Class Counsel’s request for fees and expenses and a service
  award to each of the Class Representatives. These requests will be posted on the settlement
  website.

         How Do I Get More Information? For more information about the proposed settlement
  and a copy of the full Notice and Claim Form, go to www.[website].com, contact the
  Administrator at [toll free #] or [Address] or call Class Counsel at 720-213-0676.
